                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 PROGRESSIVE HAWAII INSURANCE                     )
 CORPORATION,                                     )
                                                  )
              Plaintiff,                          )
 v.                                               )    No.: 3:12-CV-574-TAV-HBG
                                                  )
 GERALD GULLEY, Administrator Ad Litem            )
 for the Estate of XAVIER C. BINGHAM,             )
 RYAN WESTBROOK, JAMES A. RUSSELL,                )
 ANGELIC HODGE, ALLSTATE                          )
 INSURANCE COMPANY, and                           )
 GEICO INSURANCE COMPANY,                         )
                                                  )
              Defendants.                         )

                                        ORDER

       For the reasons set forth in the accompanying memorandum opinion, the Court

 finds that plaintiff Progressive Hawaii Insurance Corporation is entitled to declaratory

 judgment.    Accordingly, Progressive’s motion for summary judgment [Doc. 37] is

 GRANTED to the extent that it is ORDERED, ADJUDGED, and DECREED that

 Progressive Insurance Corporation owes no duty of indemnity nor duty to defendant in

 regard to the motor vehicle accident of May 12, 2012 and the civil actions arising

 therefrom.   It is further ORDERED that this case is DISMISSED.           The Clerk is

 DIRECTED to close this case.

       IT IS SO ORDERED.

                                  s/ Thomas A. Varlan
                                  CHIEF UNITED STATES DISTRICT JUDGE
  ENTERED AS A JUDGMENT
     s/ Debra C. Poplin
    CLERK OF COURT



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